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                                               August 2, 2022
BY ECF

The Honorable Hector Gonzalez
United States District Court
225 Cadman Plaza
East Brooklyn, New York 11201
Courtroom: 6A South

         Re: Hanyzkiewicz v. Nonoo, LLC, 1:22-cv-02448

Dear Judge Gonzalez:

        We represent Defendant Nonoo, LLC (“Defendant”) in the above captioned matter. We
respectfully submit this letter to request an extension of Defendant’s time to answer, move, or
otherwise reply to the Complaint in accordance with the Court's Individual Practices. Mr. Mark
Rozenberg, counsel for Plaintiff Marta Hanyzkiewicz, has consented to this request.

       Defendant’s deadline to respond to the Complaint in the matter is currently August 2,
2022. See Dkt. 5. The Parties are engaged in good faith discussions to resolve this dispute and
have been regularly conferring via telephone and email. On July 29, 2022, my colleague, Reid
Gaa, conferred with Mr. Rozenberg via email to request an extension of Defendant’s deadline to
respond to the Complaint so that the Parties may continue their discussions and make further
progress towards resolution. Mr. Rozenberg consented to this request via email on July 31,
2022.

      The Parties therefore jointly request an additional thirty (30) day extension of time to
Defendant’s deadline to respond to the Complaint, up to and including September 1, 2022.

        This is the Parties’ first request for an extension of this deadline in this case. The Parties
do not make this request for the purpose of delay, but instead to continue their discussions
throughout this period. The Parties agree that that the requested extension will promote judicial
efficiency and facilitate their good faith efforts to resolve this matter without further burdening
this Court’s time and resources.

       The parties therefore jointly request that this Court grant Defendant an extension of thirty
(30) days to respond to the Complaint to September 1, 2022.


                                               Respectfully submitted,



                                                  Ryan P. Poscablo
